.--_._.__,

Case 1:05-cr-10038-.]DT Document 22 Filed 06/29/05 Page 1 of 2 Page|D 24
CJA

20 APP()!NTMF.NT ()F ANI) AUTHORITY TO PAY COURT APPOIN

TED COUNSEL

 

l. ClRJDlST./l)lv. cone
TNW

z. reason REl>nEsENTF.D
Potts, Yancee

 

VOUCHER NUMBER

 

 

3. M'AG. DK'i`./DEF. NUMBF§R 4. DIST. DKT./DEF`. NUMBER

1:05-010038-003

5. APPEALS DKT./DEF. NUMBER

.' : .F :\1‘-’ F`- "

6.0THERDKT.NIJMBF£{1,: p :--.,
i i;_
'~~- , ll

 

i. lN cAsEiMATTER or s. PAYMENT cATEGoRY
U.S. v. Potts Felony

(Case Name}

 

 

9. TYPE PERSON REPRESENTED
Adult Defendant

lU. REP RESENTAT!ON TYPE

[See lnstructlons)

Crimirial Case['}§ iii iii

 

 

11. OFFENSE[S) CH ARCED (Cite U.S. Code, Title & Sel:tlnrl)

ii more than one ol'l'ense, list (up to live) ma

]) 21 S4IA:C M.F -- CONTROLLED SUBSTANCE - MANUFACTURE

_|or omeses cllarged, according to severity ol'ol`l‘ense.

k

|"\)
..\

§ F`i&‘“i[g: 2;

 

12. A'I`TORNEY'S NAME [First Name, M.I., Last Name, including any su|`|'lx)
ANI`) MA]L|NG ADDRESS

Tatum, Lloyd
P.O. Box 293
Henderson TN 38340

Te|ephono Nllmber: 713 989'3493

 

14. NAME AND MAILING ADDRESS OF LAW FlRM (l)nly provide pcrinslructions]

 

ll CUURT ORI)ER

0 Appointiog Cuunsel
F Sllhs Fllr Federal Defender J:f

m P Suhs For Pnnel Attorney

Prior Attorney's Na me:
Appuiritment i)ate:

E] Bl:r:ause the above-named person represented has testified under oath or has
otherwise satisl`led this court that he or she (l] is financially unable tn employ counsel and
(2) does not wish to waive counsel, and because the interests ol'justice so require, the
attorney whose name appears in lter.n 12 is appo'

nr

Date ofOrder

Repayrm:nt or partial repayment ordered from the person represented l'or this service at

 
 

Signalure of Presiding Judicia| Oi`l"il:er or lly Order ol' the Court

06/1£1/'7()(`|€

' is insist
' stenson

    

m C Co-Counsel '
ll Suhs For Retai¢led Atlurney'.
m Y Standby Counsel ' 1

 

 

represent this person in this case,

1

 

Nunc Pro Tune Date

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

lime nrappuimment. [] YES [:] NO
_j '.cLAlM ron'sEchEs ANo ExPENsEs_ _E _ - -‘ , ;‘ i;. ; ~‘FOR pou_m_' Usl: oNLY z `|_` ;

CATEGORIES (Attach itemization of services with dates] C{'IJ?IH{RESD CLA]MED H§§é'll"k§?)n n.lA/?)I§g|-I§'i;l:i§)n AHED{,§IEQ,]JAL
15. a. Arraignment and/or P|ca

b. Bail and Detention Hearings

c. Motion Hearings
,'1 d. Trinl
(_; c. Sentencing Hearings
3 f. Rcvocation Hearings
:' g. Appeals Court

h. Othl:r (Specify on additional sheets)

(Rate per hour = $ ) TOTALS:
16. a. Intervicws and Cnnferences
fig b. Obtaining and reviewing records
o c. Lega| research and brief writing
; d. Travei time
§ e. Investigative and Other work csp¢ciry nn additional sheen)
{ (Rate per hour= $ ) TDTALS:
17. Travel Expenses (lodg'lng, parking, meals, mileage, elc.)
lS. Other Expenses (orher than uxpert, transcripts. etc.)
_ . _ 7 .. GRAND ToTALs'(CLAlMEl)ANpAl)J`usTED): y _ _
19. CERT|FICATION OF AT'l`ORNE.Y/PAYEE FOR THE PERIOD 0 F SERVICE 20. APPOINTMENT TERM[NATION DATE`. 21. CASE DISPOSITION
FROM m tr QTHER THAN CASE COMPLETI()N
21. CLA|M STATUS [l rinal Pnynn»nl [] interim rnyn\enl Nurnner |:i supplemunlnl Pnym¢nl
l-lnve you previnusly applied m the court mr compensation unum remimhursern¢nl rnr this met [:l YES [] ' lryes, were you pald? i:| YES |:i NO

Other than from the court, have you. or toyour knowledge has anyone else, received payment (eornpensation or anything or vo|ue] from any other source in connection with this

representation'.’ YES \:\ NO ll'yes, give details on additional sheets.
l swear orafiirm tile truth or correctness of the above statementsl

Signature ofAttorney:

 

bates

 

 

APPROVED FOR PAYMENT - C()URT USE ONLY

 

23. IN COURT COMP. 24. OUT OF COURT COMP.

25. TRAVEL EXPENSES

26. OTHER EXPENSES

27. TOTAL AMT. AI’PR l CERT

 

2 .

no

SIGNATURE OF THE PRES]DING .lUDlClAL OFFICER

DATE

ZRa. JUDGE .' MAG. .IUDGE CODE

 

29. IN COURT C()MP. JD, OUT OF COURT COMP. 31.

 

 

TRAVEL EXPENSES

32. UTHER EXPENSES

33. TOTAL AMT. APPROVED

 

 

34. SIGNATURE OF CHIEF JUDGE, COURT O:" APP EALS (OR DELECATE] rayment

approved in excess ofthe statutory threshold amoun .

 

DATE

34a. JUDGE CODE

 

 

 

32

 

DISTRIC COURT - WESRNTE D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 1:05-CR-10038 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listcd.

 

Lloyd R. Tatum
TATUM AND TATUM
P.O. Box 293
Henderson, TN 38340

Jcrry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

